        Case 1:20-cv-03142-UA Document 3 Filed 04/20/20 Page 1 of 2
IH-32                                                                               Rev: 2014-1




                     United States District Court
                                 for the
                    Southern District of New York
                             Related Case Statement
                                               
                             Full Caption of Later Filed Case:

SURYA RAVI,




                 Plaintiff                                        Case Number


                                                20-cv-3142
                   vs.

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TETRAPHASE PHARMACEUTICALS, INC, L.
PATRICK GAGE, GAREN BOHLIN, STEVEN
BOYD, JEFFREY A. CHODAKEWITZ, JOHN G.
FREUND, GERRI HENWOOD, GUY MACDONALD,
KEITH MAHER, and NANCY J. WYSENSKI,

                Defendant

                             Full Caption of Earlier Filed Case:
              (including in bankruptcy appeals the relevant adversary proceeding)

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HERMAN SAHAN,




                 Plaintiff                                        Case Number

                                                20-cv-3069
                   vs.

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TETRAPHASE PHARMACEUTICALS, INC.,
L. PATRICK GAGE, GAREN BOHLIN,
JEFFREY A. CHODAKEWITZ, JOHN G.
FREUND, GERRI HENWOOD, GUY
MACDONALD, and NANCY J. WYSENSKI,

                Defendant
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             Case 1:20-cv-03142-UA Document 3 Filed 04/20/20 Page 2 of 2
IH-32                                                                                          Rev: 2014-1



Status of Earlier Filed Case:
                           (If so, set forth the procedure which resulted in closure, e.g., voluntary
        ____ Closed        dismissal, settlement, court decision. Also, state whether there is an appeal
                           pending.)
        ✔
     ____ Open             (If so, set forth procedural status and summarize any court rulings.)

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Complaint was filed on April 16, 2020.
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Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
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The later filed case arises out of the same transaction as the earlier filed case. Specifically,
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both cases arise from the same Merger Agreement entered into March 15, 2020 between
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Tetraphase Pharmaceuticals, Inc. and AcelRx Pharmaceuticals, Inc. and allege violations of
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sections 14(a) and 20(a) of the Securities Exchange Act of 1934.
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          s/Justin Kuehn                                                         4/20/2020
Signature: ________________________________________                       Date: __________________

          Moore Kuehn, PLLC
Firm:         ________________________________________


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